
82 So.3d 1229 (2012)
Willie Deangelo BIGHAM, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-2054.
District Court of Appeal of Florida, First District.
March 30, 2012.
Charles L. Truncale, Jacksonville, for Appellant.
Pamela Jo Bondi, Attorney General, and Therese A. Savona, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Flagg v. State, 74 So.3d 138 (Fla. 1st DCA 2011).
VAN NORTWICK, LEWIS, and SWANSON, JJ., concur.
